4:05-cr-03060-RGK-DLP         Doc # 120     Filed: 02/08/07    Page 1 of 1 - Page ID # 691




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiffs,             )
                                             )                  4:05CR3060-2
              V.                             )
                                             )
FERNANDO NUNEZ,                              )
                                             )                     ORDER
                     Defendant.              )

       I am in receipt of a letter from the defendant, Fernando Nunez.

       IT IS ORDERED that:

       (1)      The Clerk of Court shall file Mr. Nunez’s letter, which is attached hereto, in
the court file.

       (2)    Treated as a motion, it will be considered at Mr. Nunez’s sentencing
hearing.

      (3)    The Clerk of Court shall provide a copy of this order to Mr. Nunez, and a
copy of Mr. Nunez’s letter and this order to counsel of record.


       February 8, 2007.                   BY THE COURT:

                                           S/ Richard G. Kopf
                                           United States District Judge
